Case 1:24-cv-07098-KMW-MJS      Document 26     Filed 10/15/24   Page 1 of 15 PageID: 271




  BROWN & CONNERY, LLP
  Michael J. Miles, Esquire
  Arlette Leyba, Esquire
  360 Haddon Avenue
  Westmont, New Jersey 08108
  (856) 854-8900
  mmiles@brownconnery.com
  aleyba@brownconnery.com
  Attorneys for Defendant Chief Phil Olivo

                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE

   CHRISTIAN BENTON,                      Civil Action No. 1:24-cv-07098-KMW-MJS
   COALITION OF NEW JERSEY
   FIREARM OWNERS, GUN
   OWNERS OF AMERICA, INC.,
   and GUN OWNERS
   FOUNDATION,

                Plaintiffs,                    Motion Date: October 21, 2024

                  v.

   MATTHEW PLATKIN, in his
   official capacity as the Attorney
   General of New Jersey, and
   CHIEF PHIL OLIVO, in his
   official capacity as the Police
   Chief of Pennsauken Township,

                Defendants.




                                       REPLY BRIEF
Case 1:24-cv-07098-KMW-MJS                   Document 26            Filed 10/15/24          Page 2 of 15 PageID: 272




                                           TABLE OF CONTENTS
  PRELIMINARY STATEMENT ...............................................................................1
     ARGUMENT..........................................................................................................2
        I.    Standard of Review......................................................................................2
        II. Nominal Damages Do Not Save Benton’s Claims From Mootness or
            Create Standing ............................................................................................4
        III. Plaintiffs Have Failed To Establish Standing And Its Claims Are Not Ripe
             For Review. ..................................................................................................5
        IV. Plaintiffs Fail To State A Claim For A Violation Of The Second And
            Fourteenth Amendments ..............................................................................8
  CONCLUSION ........................................................................................................11




                                                              i
Case 1:24-cv-07098-KMW-MJS                     Document 26             Filed 10/15/24            Page 3 of 15 PageID: 273




                                          TABLE OF AUTHORITIES


  Cases                                                                                                             Page(s)
  Almeida v. Conforti,
    No. 16-3411 (KM)(JBC), 2017 U.S. Dist. LEXIS 21817 (D.N.J. Feb. 14,
    2017) .......................................................................................................................4
  Conn. Citizens Def., League, Inc. v. Thody,
    No. 23-724-cv, 2024 U.S. App. LEXIS 1056 (2d Cir. Jan. 17, 2024) ................12
  Dietchweiler by Deitchweiler v. Lucas,
    827 F.3d 622 (7th Cir. 2016) .................................................................................9
  District of Columbia v. Heller, 554 U.S. 570 (2008) ..........................................9, 11
  Free Speech Coal., Inc. v. Att’y Gen. U.S.,
    974 F.3d 408 (3d Cir. 2020) ...................................................................................8
  Hart v. Elec. Arts, Inc.,
   740 F. Supp. 2d 658 (D.N.J. 2010).........................................................................8
  Marszalek v. Kelly,
    No. 20-cv-4270, 2022 U.S. Dist. LEXIS 14047 (N.D. Ill. Jan. 26, 2022) ... 12, 13
  Md. Shall Issue, Inc. v. Moore, Nos. 21-2017, 21-2053, 2024 U.S. App. LEXIS
   21378 (4th Cir. Aug. 23, 2024) ............................................................................12
  Mortensen v. First Fed. Sav. & Loan Ass'n,
   549 F.2d 884 (3d Cir. 1977) ...............................................................................3, 4
  N.J. Physicians, Inc. v. President of U.S.,
    653 F.3d 234 (3d Cir. 2011) ...................................................................................7
  N.Y. State Rifle & Pistol Ass'n v. Bruen,
  597 U.S. 1 (2022) .....................................................................................................11
  NE Hub Partners, L.P., CNG Transmission Corp.,
   239 F.3d 333 (3d Cir. 2001) .................................................................................10
  Poling v. K. Hovnanian Enters.,
    99 F. Supp. 2d 502 (D.N.J. 2000)..........................................................................3
  Rachlin v. Baumann,
    2022 U.S. Dist. LEXIS 174215 (D.N.J. Feb. 22, 2024) ........................................9
  Rooney & Flynn LLP,
   2023 U.S. Dist. LEXIS 131817 (D.N.J. July 31, 2023) .........................................6

                                                                 ii
Case 1:24-cv-07098-KMW-MJS                    Document 26            Filed 10/15/24          Page 4 of 15 PageID: 274




  Sczesny v. Murphy,
    Civil Action No. 22-2314 (ZNQ) (RLS), 2024 U.S. Dist. LEXIS 41945 (D.N.J.
    Mar. 11, 2024) ........................................................................................................4
  Siemens United States Holdings Inc. v. Geisenberger,
  17 F.4th 393 (3d Cir. 2021) .....................................................................................10

  TransUnion LLC v. Ramirez,
  141 S.Ct. 2190 (2021) ................................................................................................6

  Uzuegbunam v. Preczewski,
  592 U.S. 279 (2021) ...............................................................................................5, 6
  Valentine v. Mullooly, Jeffrey, Rooney & Flynn LLP,
   2023 U.S. Dist. LEXIS 131817 (D.N.J. July 31, 2023) .........................................6
  Rules
  Rule 12(b)(1) ..................................................................................................... 1, 2, 3
  Rule 12(b)(6) ..................................................................................................... 1, 2, 3




                                                              iii
Case 1:24-cv-07098-KMW-MJS       Document 26     Filed 10/15/24   Page 5 of 15 PageID: 275




                           PRELIMINARY STATEMENT

         This Court does not have subject matter jurisdiction over this case under Rule

  12(b)(1) and Plaintiffs have failed to state a viable cause of action under Rule

  12(b)(6). As such, Defendant Chief Olivo’s Motion to Dismiss should be granted in

  its entirety.

         Plaintiffs brought suit because they alleged Plaintiff Benton had not been

  issued three Purchase Permits. This was the predicate for Plaintiffs claims that New

  Jersey’s firearm licensing scheme and its implementation by Chief Olivo violated

  the Second and Fourteenth Amendments. However, Benton’s applications were each

  granted and he did not have any additional pending requests at the time Chief Olivo

  filed his Motion to Dismiss. Consequently, the claim of Benton (and by extension

  the Association Plaintiffs, which derived their standing from Benton’s membership)

  became moot.

         Plaintiffs now attempt to improperly amend their pleading by way of

  certifications from two alleged members of the Association Plaintiffs, who certify to

  past and current delays in the receipt of Purchase Permits, respectively. This is not

  appropriate. Further, it is insufficient to confer standing on Plaintiffs or save their

  claim from mootness. There is no actionable injury at this time and no redress this

  Court can offer. A claim for nominal damages predicated on past conduct does not




                                            1
Case 1:24-cv-07098-KMW-MJS       Document 26      Filed 10/15/24    Page 6 of 15 PageID: 276




  change these facts. Therefore, this Court must dismiss Plaintiffs’ claim for lack of

  subject matter jurisdiction under Rule 12(b)(1).

        Further, and in the alternative, Plaintiffs have failed to state a claim under both

  the Second and Fourteenth Amendments. Although the Supreme Court has indicated

  in dicta that lengthy delays may rise to such a level that an applicant is denied their

  Second Amendment right to keep and bear arms, the allegations of the Complaint

  fall well short of that threshold as a matter of law. Plaintiffs have not been denied

  their right to keep and bear arms. Plaintiffs do not allege they were unable to exercise

  their Second Amendment rights with the firearms they concede they already keep.

  As such, they have failed to state a viable cause of action under Rule 12(b)(6) and

  Chief Olivo’s Motion to Dismiss must be granted in its entirety.

                                      ARGUMENT

  I.    Standard of Review.

        Plaintiffs Opposition Brief appears to demonstrate a misunderstanding of the

  interplay between the Rule 12(b)(1) and Rule12(b)(6) standards. Plaintiffs argue that

  Chief Olivo incorrectly identified his challenge as factual rather than facial. (Pl. Opp.

  Br. at 3). They contend that because Chief Olivo “agrees that this Court should

  accept Plaintiffs’ factual allegations as true,” therefore his challenge is not factual.

  (Pl. Opp. Br. at 3). However, this is an inaccurate interpretation of Olivo’s argument,

  which properly challenged: (1) whether this Court has subject matter jurisdiction


                                             2
Case 1:24-cv-07098-KMW-MJS       Document 26      Filed 10/15/24   Page 7 of 15 PageID: 277




  over this case under Rule 12(b)(1); and (2) in the alternative, whether Plaintiffs can

  state a viable cause of action under Rule 12(b)(6).

        “The basic difference among the various 12(b) motions is, of course, that

  12(b)(6) alone necessitates a ruling on the merits of the claim, the others deal with

  procedural defects.” See Mortensen v. First Fed. Sav. & Loan Ass'n, 549 F.2d 884,

  891 (3d Cir. 1977) (emphasis added); see also Poling v. K. Hovnanian Enters., 99

  F. Supp. 2d 502, 508 (D.N.J. 2000) (citing Mortensen, 549 F.2d at 891) (Motions to

  dismiss under Fed. R. Civ. P. 12(b)(6) for failure to state a cause of action result in

  a determination on the merits at an early stage of plaintiff's case).

        Olivo raises a “factual attack”1 because the Complaint contains an incomplete

  and therefore inaccurate synopsis of the facts for purposes of evaluating this Court’s

  subject matter jurisdiction under Rule 12(b)(1). Olivo accordingly introduced

  extrinsic evidence — Benton’s approved applications — to controvert Plaintiffs’

  facts. See Mortensen, 549 F.2d at 891, no. 17; See Almeida v. Conforti, No. 16-3411

  (KM)(JBC), 2017 U.S. Dist. LEXIS 21817, at *12 (D.N.J. Feb. 14, 2017)



        1
           “A facial attack ‘challenges subject matter jurisdiction without disputing the
  facts alleged in the complaint, and it requires the court to consider the allegations of
  the complaint as true,’ while a factual attack, on the other hand, ‘attacks the factual
  allegations underlying the complaint's assertion of jurisdiction, either through the
  filing of an answer or otherwise present[ing] competing facts.’” Sczesny v. Murphy,
  Civil Action No. 22-2314 (ZNQ) (RLS), 2024 U.S. Dist. LEXIS 41945, at *5 (D.N.J.
  Mar. 11, 2024) (internal quotation marks omitted) (emphasis added).

                                             3
Case 1:24-cv-07098-KMW-MJS      Document 26      Filed 10/15/24   Page 8 of 15 PageID: 278




  (considering “extrinsic facts that supplement” the facts alleged in the Complaint).

  Olivo was not obligated to file an Answer before doing so. See Sczesny, 2024 U.S.

  Dist. LEXIS, at *5 (stating a factual attack can be made by either filing answer or

  presenting competing facts). When the complete record before the Court is

  considered, it becomes clear that this Court does not have subject matter jurisdiction

  to hear this case.

  II.   Nominal Damages Do Not Save Benton’s Claims From Mootness or
        Create Standing.
        Benton’s claim must be dismissed as moot because there is no longer a live

  case or controversy to litigate. Chief Olivo moved to dismiss the Complaint as moot

  because the claims relied on the alleged harm resulting from Benton not having been

  issued three Purchase Permits that were then outstanding, but have since been

  approved. (Defendant Olivo’s Motion to Dismiss at 15-17). In opposition, Benton

  asserts that his demand for nominal damages precludes dismissal. (Pl. Opp. Br. at 5-

  8). However, Benton’s demand for nominal damages, while potentially speaking to

  the issue of redressability, does not salvage his claim from the realm of mootness or

  create standing under the circumstances present here. See Uzuegbunam v.

  Preczewski, 592 U.S. 279, 292 (2021) (“We hold only that, for the purpose of Article

  III standing, nominal damages provide the necessary redress for a completed

  violation of a legal right.”); see also Valentine v. Mullooly, Jeffrey, Rooney & Flynn

  LLP, 2023 U.S. Dist. LEXIS 131817, at *11 (D.N.J. July 31, 2023) (“Because the

                                            4
Case 1:24-cv-07098-KMW-MJS       Document 26       Filed 10/15/24   Page 9 of 15 PageID: 279




  Uzuegbunam Court’s ‘holding concerns only redressability[,]’ and not injury, it is

  not controlling here.”).

         “[U]nder Article III, an injury in law is not an injury in fact.” TransUnion LLC

  v. Ramirez, 141 S.Ct. 2190, 2205 (2021) (holding that “[o]nly those plaintiffs who

  have been concretely harmed by a defendant’s statutory violation may sue . . . over

  that violation in federal court.”) (emphasis in original). In light of the approval of

  Benton’s Purchase Permits, Plaintiffs cannot establish that any injury in fact was

  suffered. Moreover, as discussed more fully below in Section IV, a processing delay

  does not amount to a constitutional violation.

  III.   Plaintiffs Have Failed To Establish Standing And Its Claims Are Not
         Ripe For Review.
         The Association Plaintiffs’ claim must be dismissed because they have failed

  to establish standing. Chief Olivo moved to dismiss Plaintiffs complaint, in part,

  because it failed to establish an injury in fact sufficient to establish standing, and

  failed to allege any facts against Olivo that were not premised on future contingent

  events. (Defendant Olivo’s Motion to Dismiss at 19-25). In opposition, Plaintiffs

  argue they have established standing because the alleged processing delays result in

  concrete injuries that can be remedied by a declaration of this Court finding the

  permitting scheme unconstitutional. (Pl. Opp. Br. at 17). In addition, they assert their

  claims are ripe for review because the Associations’ members are “presently being

  harmed by Olivo’s delays” and Benton’s demand for declaratory relief and nominal

                                             5
Case 1:24-cv-07098-KMW-MJS        Document 26      Filed 10/15/24    Page 10 of 15 PageID:
                                        280



 damages are based on “real delays that have already occurred.” (Pl. Opp. Br. at 18).

 As these arguments are interrelated, we address them collectively in reply.

       The Association Plaintiffs fail to establish associational standing because the

 Complaint does not identify members that would otherwise have standing to sue in

 their own right. N.J. Physicians, Inc. v. President of U.S., 653 F.3d 234, 241 (3d Cir.

 2011) (holding association failed to identify a member with standing and therefore

 lacked standing themselves). To establish associational standing the association

 must show “(1) its ‘members would otherwise have standing to sue in their own

 right’; (2) ‘the interests it seeks to protect are germane to the organization’s purpose’;

 and (3) ‘neither the claim asserted nor the relief requested requires the participation

 of individual members in the lawsuit.’” Free Speech Coal., Inc. v. Att’y Gen. U.S.,

 974 F.3d 408, 421 (3d Cir. 2020) (citation omitted).

       Plaintiffs attempt to remedy this error, in what amounts to an improper attempt

 to amend their Complaint, by referencing two certifications from alleged members.

 (Declaration in Opposition of Marloy Gonzalez, dated September 19, 2024;

 Declaration in Opposition of Jossue Rivera-Santiago, dated September 20, 2024).

 However, Plaintiffs may not cure their defective Complaint in this fashion. Hart v.

 Elec. Arts, Inc., 740 F. Supp. 2d 658, 663 (D.N.J. 2010) (“[A] party may not amend

 his pleadings by making factual assertions in a brief [or] amend his complaint

 through a declaration or certification.” (internal citations omitted).


                                             6
Case 1:24-cv-07098-KMW-MJS        Document 26     Filed 10/15/24    Page 11 of 15 PageID:
                                        281



       Even assuming Association Plaintiffs did properly identify its members in the

 Complaint, it has failed to allege an injury. Plaintiffs provide no authority to support

 the contention that the violation of a statutory deadline equates to a constitutional

 violation. See Rachlin v. Baumann, 2022 U.S. Dist. LEXIS 174215, at *56 (D.N.J.

 Feb. 22, 2024) (noting a lack of authority to support claim that “delays beyond a

 statutorily required processing period . . . violate the second amendment”);

 Dietchweiler by Deitchweiler v. Lucas, 827 F.3d 622, 629 (7th Cir. 2016) (finding a

 “failure to follow state statute or state-mandated procedures does not amount to a

 federal due process claim of constitutional magnitude”).

       In addition, Benton, and alleged association members Rivera-Santiago and

 Gonzalez, each certify they are already “avid gun owner[s].” (Declaration in

 Opposition of Marloy Gonzalez dated September 19, 2024; Declaration in

 Opposition of Jossue Rivera-Santiago dated September 20, 2024). Plaintiffs do not

 allege they were unable to bear arms during the specified period of delay. They do

 not allege the delays restrained them from using the firearms they already possess.

 Nor do they allege they were incapable of defending their homes during the delays.

 See District of Columbia v. Heller, 554 U.S. 570 (2008) (finding second amendment

 right to bear arms for the purpose of self-defense in the home).

       Rivera-Santiago certifies only that he experienced delays in the past, but that

 is not a live injury in fact. And while Gonzalez certified that he was waiting on two


                                            7
Case 1:24-cv-07098-KMW-MJS       Document 26      Filed 10/15/24   Page 12 of 15 PageID:
                                       282



 Purchase Permits at the time the certification was filed, those applications have all

 since been approved. (See Certification of Philip P. Olivo, III, dated October 15,

 2024, at ¶ 6.) Since they have continuously exercised their rights to keep and bear

 the arms they already own and have received all of the Purchase Permits they sought,

 the past delays alleged in this case cannot have caused Benton, Rivera-Santiago, or

 Gonzalez an injury that gives rise to standing here. Relatedly, Plaintiffs’ claims are

 not ripe because they have not alleged an injury that is “a real and substantial threat

 of harm.” Siemens United States Holdings Inc. v. Geisenberger, 17 F.4th 393, 412

 n.25 (3d Cir. 2021) (quoting NE Hub Partners, L.P., CNG Transmission Corp., 239

 F.3d 333, 342 n.9 (3d Cir. 2001)).

 IV.   Plaintiffs Fail To State A Claim For A Violation Of The Second And
       Fourteenth Amendments.
       Even if this Court finds Plaintiffs have standing, their Complaint must be

 dismissed because it fails to allege a Second or Fourteenth Amendment violation.2

 Plaintiffs impassionedly argue they have a constitutional right to bear arms, which

 is protected by the Second Amendment and enforceable against the states by the

 Fourteenth Amendment. (Pl. Opp. Br. at 21-23). However, in defining this right, the



 2
   Plaintiffs make the flawed argument that the Court may not consider the merits at
 this stage of the litigation. (Pl. Opp. Br. 19). That is precisely what a motion under
 Rule 12(b)(6) tests. Plaintiffs’ argument again appears to stem from confusion
 regarding the interplay of Rule 12(b)(1) and Rule 12(b)(6) in this case. (See, supra,
 Section I.)
                                           8
Case 1:24-cv-07098-KMW-MJS       Document 26     Filed 10/15/24   Page 13 of 15 PageID:
                                       283



 Supreme Court has made clear that it “is not unlimited.” See Heller, 554 U.S. at 626.

 While the Supreme Court, in dicta, indicated “lengthy wait times in processing

 license applications or exorbitant fees” may implicate the right to carry, N.Y. State

 Rifle & Pistol Ass'n v. Bruen, Plaintiffs have failed to present any authority finding

 that delays of the kind alleged here rise to the level contemplated in Bruen such that

 a constitutional violation is possible. 597 U.S. 1, 38 n.9 (2022) (emphasis added).

       Both pre- and post-Bruen cases have consistently held a delay does not

 automatically equate to a denial. See Md. Shall Issue, Inc. v. Moore, Nos. 21-2017,

 21-2053, 2024 U.S. App. LEXIS 21378, at *26 (4th Cir. Aug. 23, 2024) (“By

 equating ‘infringement’ with any temporary delay, the plaintiffs improperly discount

 the Supreme Court's guidance that requirements such as background checks and

 training instruction, which necessarily occasion some delay, ordinarily will pass

 constitutional muster.”); Conn. Citizens Def., League, Inc. v. Thody, No. 23-724-cv,

 2024 U.S. App. LEXIS 1056, at *14 (2d Cir. Jan. 17, 2024) (“No case authority

 clearly establishes that the police chiefs' conduct violated a federal right of the

 appellants [and] despite Supreme Court precedent affirming ‘that the Second and

 Fourteenth Amendments protect an individual right to keep and bear arms for self-

 defense,’ it had ‘not found any case to hold that a seven-month (or even a two-year)

 delay in obtaining a firearm permit violates the Constitution.’"); Marszalek v. Kelly,

 No. 20-cv-4270, 2022 U.S. Dist. LEXIS 14047, at *16-18 (N.D. Ill. Jan. 26, 2022)


                                           9
Case 1:24-cv-07098-KMW-MJS       Document 26      Filed 10/15/24   Page 14 of 15 PageID:
                                       284



 (determining processing delays for firearm identification cards ranging from 5 to 9

 months did not constitute an outright ban or “outright prohibition of fundamental

 Second Amendment rights”)

       Plaintiffs have not alleged that the processing delays here have prevented

 them from exercising their right to keep and bear arms or from defending their

 homes. At most, they have alleged a temporary postponement of their right to

 purchase additional firearms. Marszalek, No. 20-cv-4270, 2022 U.S. Dist. LEXIS

 14047, at *16 (“[Application] process merely postpones a gun owner’s exercise of

 that right.”). Plaintiffs Complaint is devoid of any allegations capable of supporting

 a claim that Chief Olivo denied Plaintiffs the exercise of their Second Amendment

 rights, and this claim must be dismissed.

       Finally, Plaintiffs concede they do not plead a standalone Fourteenth

 Amendment claim. (See Pl. Opp. Br. at 21). Therefore, this claim must be dismissed

 as duplicative of their Second Amendment claim. See Marszalek, No. 20-cv-4270,

 2022 U.S. Dist. LEXIS 14047, at *20 (“dismissing Plaintiffs’ substantive due

 process claim as duplicative of their Second amendment claim” because “[w]here

 another provision of the Constitution provides an explicit textual source of

 constitutional protection, a court must assess a plaintiff's claims under that explicit

 provision and not the more generalized notion of substantive due process") (citations

 omitted).


                                             10
Case 1:24-cv-07098-KMW-MJS     Document 26     Filed 10/15/24   Page 15 of 15 PageID:
                                     285



                                 CONCLUSION

       For the foregoing reasons, Defendant Chief Olivo’s Motion to Dismiss should

 be granted in its entirety.


                                             Respectfully submitted,
 Dated: October 15, 2024               By: s/ Michael J. Miles
                                           Michael J. Miles, Esq.
                                           Arlette Leyba, Esq.
                                           BROWN & CONNERY, LLP
                                           360 Haddon Avenue
                                           P.O. Box 539
                                           Westmont, New Jersey 08108
                                           (856) 854-8900
                                           mmiles@brownconnery.com
                                           aleyba@brownconnery.com




                                        11
